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                 Exhibit H
                 Case 1:25-cv-00778-LLA                 Document 35-9            Filed 04/18/25          Page 2 of 2




Fwd: Inter-American Foundation
                 <                 >                                                                       Fri, Feb 28, 2025 at 4:18 PM
To: OfficeDirector <OfficeDirector@iaf.gov>
Cc:            <                >

  And here is the IAF one.




                                       www.iaf.gov




  Empowered Communities, Sustainable Results



  ---------- Forwarded message ---------
  From: Morse, Trent M. EOP/WHO <                                          >
  Date: Fri, Feb 28, 2025 at 4:17 PM
  Subject: Inter-American Foundation
  To:                   <                    >
  Cc:                          <                             >



  Lesley,

  Given the President’s inability to supervise the activities of the Board-less IAF, he has inherent authority to designate an acting
  Chairman of the Board. The Federal Vacancies Reform Act [FVRA] excludes the IAF because its members are confirmed by the
  Senate and sit on a board “composed of multiple members” which controls a “Government corporation.” 5 U.S.C. § 3349c(1). The
  FVRA also appears to exempt the IAF from its requirement that the FVRA serve as the “exclusive means for temporarily authorizing
  an acting official.” Id. §§ 3347(a), 3349c. Additionally, the IAF’s organic statute does not include any mechanism for the President to
  designate acting officials. See 22 U.S.C. § 290f. Therefore, the President currently has no way of ensuring the agency is running, or
  complying with his executive order, unless he directs an acting official using inherent authority under Article II.

  On behalf of President Donald J. Trump, Peter Marocco has been temporary appointed acting chairman and board member of the
  Inter-American Foundation.



  Trent Morse

  Deputy Director

  Presidential Personnel
